    1     EILEEN R. RIDLEY (SBN 151735)        ROBERT L. TEEL (SBN 127081)
            eridley@foley.com                    lawoffice@rlteel.com
    2
          ALAN R. OUELLETTE (SBN 272745)       LAW OFFICE OF ROBERT L. TEEL
    3       aouellette@foley.com               1425 Broadway, Mail Code: 20-6690
          FOLEY & LARDNER LLP                  Seattle, Washington 98122
    4     555 California Street, Suite 1700    T: 866.833.5529 // F: 855.609.6911
          San Francisco, CA 94104-1520
    5     T: 415.434.4484 // F: 415.434.4507
    6
          GEOFFREY M. RAUX (pro hac vice)
    7       graux@foley.com
          FOLEY & LARDNER LLP
    8     111 Huntington Avenue
          Boston, MA 02199-7610
    9     T: 617.342.4000 // F: 617.342.4001
  10

  11    Attorneys for Plaintiffs SYLVESTER OWINO,
        JONATHAN GOMEZ, and the Proposed Class(es)
  12

  13                         UNITED STATES DISTRICT COURT

  14                      SOUTHERN DISTRICT OF CALIFORNIA

  15
     SYLVESTER OWINO and JONATHAN                ) Case No. 3:17-CV-01112-JLS-NLS
  16 GOMEZ, on behalf of themselves and all      )
     others similarly situated,                  )
  17                            Plaintiffs,      ) CLASS ACTION
                                                 )
  18              vs.                            )
                                                 ) JOINT STATUS REPORT
  19    CORECIVIC, INC.,                         ) REGARDING COMPARISON OF
                                                 ) ADO-LEVEL AND NON-ADO-LEVEL
  20                                 Defendant. ) ESI
                                                 )
  21                                             )
                                                 )_
  22    CORECIVIC, INC.,                         ) Judge: Hon. Janis L. Sammartino
  23                          Counter-Claimant, )) Magistrate: Hon. Nita L. Stormes
                                                 )
  24                                             )
                     vs.                         )
  25                                             )
        SYLVESTER OWINO and JONATHAN )
  26    GOMEZ, on behalf of themselves and all )
        others similarly situated,               )
  27                        Counter-Defendants. ))
  28                                             )


                                                       Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1              Plaintiffs Sylvester Owino and Jonathan Gomez (“Plaintiffs”) and Defendant
    2   CoreCivic, Inc. (“CoreCivic”) hereby submit this Joint Status Report in response to the
    3   Court’s Order Regarding Joint Motion for Determination of Discovery Dispute No. 5
    4   [ECF 225] (“Order”), as modified by the Court’s subsequent orders regarding the same
    5   [ECF 227, 229, 231]. This Joint Status Report provides the parties’ respective positions
    6   regarding ADO-level1 custodian data to non-ADO-level2 custodian data produced by
    7   CoreCivic in response to the Court’s Order.
    8   I.         PLAINTIFFS’ POSITION
    9              A.    Relevant History
  10                     1.    Procedural History
  11               On June 1, 2020, the parties filed Joint Motion for Determination of Discovery
  12    Dispute No. 4, wherein Plaintiffs raised, among other things, appropriate custodians and
  13    search terms for production of electronically stored information (“ESI”) maintained by
  14    CoreCivic. [ECF 184 at 7.] At the time of that motion, the parties had already agreed to
  15    collection of ESI from a number of both ADO-level and non-ADO level custodians in the
  16    ESI collection, but disputed the appropriateness of adding certain additional custodians.
  17    [ECF 184, Appendix 1.] Following the hearing on this motion, the Court issued an order
  18    requiring CoreCivic to run its ESI search on the entirety of the parties’ mutually agreed
  19    custodian list, as well as three additional custodian positions that had been at dispute.
  20    [ECF 192 at 4.]
  21               On February 19, 2021, the parties filed Joint Motion for Determination of
  22

  23
       As used herein, “ADO-level” has the same meaning as used in ECF 215 and refers to
        1

  24 administrative-team-level  facility employees designated to be “on call” and approved by
     the Vice President, Facility Ops to assume the required duties and responsibilities of the
  25 Warden/Facility Administrator during non-business hours. They generally include the
     Warden/Facility Administrator, Assistant Warden/Assistant Facility Administrator, Chief
  26
     of Security, and Chief of Unit Management.
  27
      As used herein, “non-ADO-level” refers to the custodians for which CoreCivic was
        2

  28 ordered to produce ESI in the Court’s Order Regarding Joint Motion for Determination of
     Discovery Dispute No. 4 [ECF 192], excluding the ADO-level custodians.

                                                     -1-           Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   Discovery Dispute No. 5, wherein CoreCivic sought to limit its ESI search to just four
    2   ADO-level custodian positions, excluding not only the custodians set forth in the Court’s
    3   order [ECF 192], but also excluding numerous positions that CoreCivic had agreed to
    4   include during the meet and confer process and filings with the Court. [ECF 184,
    5   Appendix 1.] CoreCivic’s attempt to renege on the parties’ mutually agreed custodian
    6   list is based on CoreCivic’s belief that collecting ESI from all ordered custodians would
    7   “impose an undue burden on CoreCivic” and that limiting ESI custodians to just four
    8   executive and leadership-level job titles (i.e., ADO-level custodians) would somehow
    9   capture all relevant ESI across CoreCivic’s expansive, multi-billion-dollar operations.
  10               To test CoreCivic’s arguments, the Court ordered CoreCivic to (1) collect and
  11    produce ESI from ADO-level custodians at Otay Mesa Detention Center and San Diego
  12    Correctional Facility by August 31, 2021; and (2) collect and produce ESI from all
  13    previously listed custodians (i.e., including non-ADO-level custodians) at the same two
  14    facilities by September 30, 2021. [ECF 225.] The Court further ordered CoreCivic to
  15    provide an “affidavit from a knowledgeable corporate representative regarding the
  16    sufficiency of ESI from ADO-level custodians.” [ECF 227.] Due to CoreCivic’s
  17    repeated inability to meet these production deadlines, the parties were forced to file
  18    multiple unopposed motions extending these deadlines, which were granted by the Court.
  19    [ECF 227, 229, 231.] As relevant here, the Court set a deadline of November 1, 2021 for
  20    CoreCivic to produce its ADO-level data, and a deadline of December 1, 2021 for
  21    CoreCivic to produce its non-ADO-level data. [ECF 231.]
  22                     2.    CoreCivic’s Productions
  23               On August 31, 2021, September 14, 2021, September 29, 2021, and November 1,
  24    2021, CoreCivic produced a total of 20,530 documents, which CoreCivic represented was
  25    collected “from the San Diego/Otay Mesa ADO Custodians.” [Ouellette Decl. ¶¶ 3-6;
  26    Ex. 23.]
  27               CoreCivic failed to produce its non-ADO-level data by December 1, 2021
  28    [Ouellette Decl. ¶ 7], as required by the Court’s order. [ECF 231.] As a result, Plaintiffs’


                                                     -2-           Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   counsel inquired on December 2, 2021 regarding the status of the “document production
    2   yesterday [December 1, 2021], as Ordered by the Court.” [Ouellette Decl., Ex. 22.]
    3   CoreCivic’s counsel “apologi[zed] for the delay” and stated that the production would be
    4   produced in the following week. [Id.] On December 8, 2021 and December 13, 2021,
    5   CoreCivic produced a total of 17,510 documents. [Ouellette Decl. ¶¶ 8-9.] Plaintiffs
    6   understood these productions to be CoreCivic’s non-ADO-level production, as they were
    7   produced well past the November 1, 2021 deadline to produce ADO-level data and
    8   because, unlike prior productions, CoreCivic did not characterize the productions as
    9   being collected from “ADO Custodians.” [Ouellette Decl.¶ 31, Ex. 23 (stating only that
  10    “a new production volume” was uploaded).]
  11               According to the de-duplication function on the electronic discovery platform,
  12    RelativityOne, there are only 344 exact duplicates between CoreCivic’s ADO-level
  13    production and its non-ADO-level production. [Ouellette Decl. ¶ 10.]
  14               B.    The Non-ADO-Level Data Contains Key Information for Plaintiffs’
  15                     Claims.
  16               Based on the non-ADO-level data produced by CoreCivic to date, it is evident that
  17    CoreCivic’s non-ADO-level custodians will possess evidence that is both critical to
  18    Plaintiffs’ claims and distinct from the type of information possessed by CoreCivic’s
  19    ADO-level custodians. Among other things, the non-ADO-level data produced by
  20    CoreCivic provides unique insight into how CoreCivic’s policies and procedures
  21    regarding detainee labor were actually implemented at the ground level. These
  22    documents will prove essential, as CoreCivic has contested the meaning of its own
  23    policies and procedures. The correspondence of CoreCivic’s non-ADO-level employees,
  24    however, prove that CoreCivic’s policies and procedures were in fact implemented as
  25    written, so as to forcibly extract labor from detainees. Moreover, CoreCivic’s non-ADO-
  26    level documents include time and payment records for detainees that are absent from
  27    CoreCivic’s ADO-level data, and which directly undermine CoreCivic’s contention that
  28    damages are not computable on a class-wide basis. CoreCivic’s effort to renege on its


                                                      -3-          Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   previously agreed custodians should be rejected as a transparent attempt to deprive
    2   Plaintiffs of unique and critical evidence. For the reasons stated herein, Plaintiffs
    3   respectfully request that the Court issue an order requiring CoreCivic to collect and
    4   produce documents from all previously agreed custodians.
    5              For example, the non-ADO-level data includes numerous documents and
    6   spreadsheets relating to payment for, and scheduling of, detainee labor at CoreCivic.
    7   These documents include CoreCivic’s “Kitchen Worker Procedures and Incentives,”
    8   which set forth CoreCivic’s policies at the Otay Mesa Detention Center regarding the
    9   timing of shifts for kitchen workers, the number of workers expected per shift, the
  10    compensation and incentive structure for kitchen workers, and “rules and procedures” to
  11    be followed by kitchen workers.3 [Declaration of Alan R. Ouellette (“Ouellette Decl.”)4
  12    Ex. 1, CCOG00199520; see also Ex. 2, CCOG00202220 (meeting minutes circulated
  13    among unit managers stating that “detainees . . . should be working approximately 8
  14    hours a day to be paid”).] The non-ADO-level data also contains detailed schedules
  15    setting forth when detainees, as identified by name and alien registration number, were
  16    scheduled to work shifts. [See, e.g., Ex. 3, CCOG00199420; Ex. 4, CCOG00199553).5]
  17    Similarly, CoreCivic’s non-ADO-level data includes numerous spreadsheets detailing
  18

  19
      This document appears to have been authored by “Acting Warden” R. O. Garcia, Jr.
        3

  20 While  CoreCivic contends that “Warden” is an ADO-level position, this document was
     contained in the non-ADO-level data, indicating that there are highly relevant documents
  21 not captured by CoreCivic’s proposed criteria.

  22  Unless indicated otherwise, all references to Exhibits in Plaintiffs’ portion of this Joint
        4

  23 Status Report refer to Exhibits attached to the Declaration of Alan R. Ouellette filed
     concurrently herewith.
  24    5
          The Magistrate Judge’s Civil Case Procedures request that the parties submit “only
  25    relevant and necessary exhibits” in connection with briefing on joint discovery disputes.
        Accordingly, Plaintiffs have included as exhibits only a small sampling of detainee labor
  26    scheduling documents and spreadsheets. Numerous similar scheduling documents and
  27    spreadsheets were included in CoreCivic’s non-ADO-level production, including
        documents produced at Bates stamps CCOG00199302, CCOG00199428,
  28    CCOG00199530, and CCOG00199541. Plaintiffs are willing to file these documents
        with the Court upon request.

                                                   -4-           Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   reimbursement made to detainees, as well as the corresponding work that they performed
    2   and time in/out records for the same. [See, e.g., Ex. 5, CCOG00204703.6] These
    3   schedules indicate the dates and shifts that detainees were scheduled to work, including
    4   when detainees apparently “refused” to work [Ex. 3, CCOG00199420 at 5]; and when
    5   detainees were “fired” by CoreCivic [Ex. 4, CCOG00199553 at 5]. These documents
    6   directly refute the arguments advanced by CoreCivic throughout this action, including
    7   CoreCivic’s contentions that “complications from damages calculations in this case also
    8   weigh heavily against class certification” and that a jury would be unable to “sort out all
    9   these issues that determine liability and damages for each class member’s claim.” [ECF
  10    118 at 35:1-21.] The non-ADO-level data sample reveals that CoreCivic seeks to
  11    withhold the very information that would enable Plaintiffs to make such damages
  12    calculations.
  13               Further, the non-ADO-level production includes numerous documents that
  14    undermine CoreCivic’s self-serving interpretation of its sanitation policies, including
  15    CoreCivic’s contention that not all detainees, but only “volunteers,” are required to
  16    perform labor for CoreCivic. To the contrary, the non-ADO-level data contains an email
  17    in which CoreCivic employees discuss “[t]hree detainees [who] have been cleaning at
  18    night in the corridor and lobby” but “have not gotten paid in three weeks.” [Ex. 6,
  19    CCOG00205925.] In response, a CoreCivic employee stated that the “detainees are
  20    already assigned a job in the unit or kitchen,” “cannot get paid for two jobs,” and that if
  21    they “want to work another job, they can ask me to change their job or it is strictly for
  22    volunteer purposes.” [Id.] This exchange directly contradicts CoreCivic’s argument that
  23    the sanitation policy applies only to detainees “who volunteer to participate in the VWP.”
  24    [Id.] The email shows that, in actuality, detainees who CoreCivic consider “volunteers”
  25    are not even compensated for their work, rebutting the distinction that CoreCivic has
  26
        6
  27  Similar documents were produced at CCOG00204709, CCOG00204720,
     CCOG00204723, CCOG00204745, CCOG00204766, CCOG00204777,
  28 CCOG00204782, CCOG00204825, CCOG00204853, and can be filed with the Court
     upon request.

                                                   -5-           Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   attempted to carve throughout this litigation.
    2              Similarly, the non-ADO-level data includes a memorandum from Shane Cosby,
    3   Echo Unit Manager, to Gina Sween, Chief of Unit Management7 regarding the sanitation
    4   duties of detainees. [Ex. 7 (CCOG00211532).] In the memorandum, Mr. Cosby states,
    5   “we must keep [sanitation] up each and every day and that’s to include the evening times
    6   and the weekends. Sanitation isn’t just a Monday through Friday from 0730 to 1700 but
    7   a 24/7 job. Remember keep on the detainees to clean and continue to check behind
    8   them as they clean.” [Id. at CCOG00211533 (emphasis added).] This memorandum is
    9   evidence that all “detainees” are responsible for “cleaning” under CoreCivic’s sanitation
  10    policy, not just “volunteers.” [Id.] This memorandum also contradicts CoreCivic’s
  11    argument that its sanitation policy only requires detainees to “maintain[] the common
  12    living area” and “does not require detainees to clean the common areas of the housing
  13    units.” [ECF 118 (Opp. to Class Cert. Motion) at 3:19-4:13 (emphasis in original).]
  14    Further, this memorandum contradicts CoreCivic’s argument that the sanitation policy
  15    applies only to detainees “who volunteer to participate in the VWP.” [Id.] In short, the
  16    memorandum is evidence that CoreCivic’s policies mean exactly what they say: that all
  17    “detainees” (not merely volunteers) are required to “clean” (not merely “maintain”) the
  18    common areas. CoreCivic at once denies the plain meaning of its own policies and
  19    procedures, while simultaneously seeking to deprive Plaintiffs of the documents
  20    necessary to prove that their policies and procedures were actually implemented as
  21    written by non-ADO-level custodians.
  22               The non-ADO-level production further shows how detainees were coerced by non-
  23    ADO-level custodians, demonstrating how CoreCivic’s disciplinary policies were
  24
        7
  25  Although CoreCivic contends that the Chief of Unit Management is an ADO-level
     position, this memorandum was contained exclusively in CoreCivic’s non-ADO-level
  26 production. Thus, this memorandum, despite being facially addressed to an ADO-level
  27 custodian, was either never sent to the ADO-level custodian, or CoreCivic’s document
     collection process was deficient and omitted a key ADO-level document. Regardless of
  28 which is the case, both support the fact that CoreCivic should be obligated to collect and
     produce ESI from all previously agreed custodians, not just ADO-level custodians.

                                                   -6-          Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   actually implemented at the ground level. One email chain in the non-ADO-level data
    2   shows relates the experience of an officer who “had a hard time controlling [sic] the
    3   pakastanian [sic] workers cause they were making loud noises” and could not speak
    4   English. [Ex. 8, CCOG00205909.] The officer told the detainees to “shut the [expletive]
    5   up,” and complained to other officers that the Pakistani detainees “sounded like a bunch
    6   of hyenas.” [Id.] After hearing this officer’s abuse of detainee workers, another
    7   CoreCivic employee responded, “Maybe leave out the F bombs next time.” [Id.]
    8              Finally, the non-ADO-level data contains foundational policy and procedure
    9   documents that were produced for the first time in CoreCivic’s non-ADO-level
  10    production—key documents that would have been completely missed but for the non-
  11    ADO-level collection. For example, the non-ADO-level production contains a “Resident
  12    Work Agreement” for “Floors” at Otay Mesa Detention Center, which outlines the
  13    “Duties” of detainees, including “Sweep[ing]/us[ing] the dust mop on floors after each
  14    meal,” “Wip[ing] up spills as needed,” and “Other tasks as directed by your unit team.”
  15    [Ex. 9, CCOG00202087.] Critically, the agreement requires the detainee to “understand
  16    that I am being paid to work for eight (8) hours of work each day” and “understand that I
  17    will not be paid if my duties are not completed in a satisfactory manner.” [Id.] This
  18    document, which explains the duties and conditions of labor at Otay Mesa, is contained
  19    nowhere in the CoreCivic’s ADO-level production, underscoring the importance of
  20    collecting relevant information from all levels of CoreCivic’s hierarchy, as previously
  21    ordered by the Court.
  22               These documents represent but a small sampling of unique and relevant
  23    information contained in the non-ADO-level documents produced by CoreCivic. [See,
  24    e.g., Ex. 10, CCOG00202924 (memorandum among non-ADO-level employees stating
  25    that “it is imperative that you [officers] have the detainees working tonight in the units.
  26    We have the Vice President coming tomorrow and we have been cleaning today but need
  27    to continue on Pm shift.”); Ex. 11, CCOG00200389 (email indicating that detainees who
  28    “are not getting paid due to not signing [work vouchers] or it being their day off . . .


                                                     -7-          Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   should not get back paid for it”); Ex. 12, CCOG00201751 (email indicating that “new
    2   detainees” are required sign “work contracts” and “are also scheduled to clean after every
    3   meal”); Ex. 13, CCOG00201776 (memorandum among non-ADO-level employees
    4   stating that pod porters “must work 3 times a day to get paid” and that “all porters have
    5   been told that they should comply with a staff request for additional duties”); Ex. 14,
    6   CCOG00204486 (minutes from town hall meeting among non-ADO-level employees
    7   stating, “If you are given a directive follow the directives this is very important”); Ex.
    8   15, CCOG00199436 (email indicating that “Otay Mesa is now critical due to the detainee
    9   workforce being 100% depleted as of this afternoon” due to COVID-19 pandemic); Ex.
  10    16, CCOG00201761 (email indicating that “[p]od porters work 3 times a day. After
  11    breakfast, Lunch, and dinner. There may also be times when you are requested to clean
  12    during off times for facility reasons.”); Ex. 17, CCOG00201781 (memorandum requiring
  13    that unit officers “[m]aintain accountability of unit cleaning supplies by ensuring
  14    residents are exchanging their ID’s for items on the cleaning cart”).]
  15               CoreCivic suggests below that it is somehow insufficient for Plaintiffs to cite “33
  16    documents . . . out of over 38,000” as evidence of the relevance of the non-ADO-level
  17    production. However, there is obviously no practical way for Plaintiffs to attach the
  18    countless relevant documents identified in its review to this Joint Status Report; nor
  19    would such an undertaking be consistent with the Court’s standing civil case procedures,
  20    which directs the parties to “include only relevant and necessary exhibits” in connection
  21    with briefing on a discovery dispute. [Hon. Nita L. Stormes, U.S. Magistrate Judge Civil
  22    Case Procedures, ¶ VI.C.3.]
  23               In short, there is no basis for CoreCivic’s belated request that the Court alter its
  24    prior discovery order and limit the parties’ previously agreed ESI custodians to only four
  25    executive and leadership-level job titles. CoreCivic has attempted to argue that when an
  26    issue arises with respect to a detainee, the non-ADO-level officers “would escalate the
  27    issue up the chain of command” such that any writing pertaining to such issue “would
  28    most likely make its way at least to the Chief of Unit Management and/or the Chief of


                                                        -8-           Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   Security, if not the Assistant Warden for Operations and possibly the Warden.”
    2   [Ouellette Decl., Ex. 22 (Declaration of Jason Ellis)8; see also ECF 184 at 12 (arguing the
    3   same).] The above-referenced documents expose this argument to be devoid of merit.
    4   CoreCivic’s non-ADO-level documents contain not only relevant information, but
    5   information that is distinct from ADO-level communications and can be ascertained only
    6   from the non-executive, non-ADO-level employees actually responsible for
    7   implementing CoreCivic’s policies. For these reasons, Plaintiffs respectfully request that
    8   the Court enter order requiring CoreCivic to collect and produce documents from all
    9   previously agreed custodians.
  10               C.    No Weight Should Be Afforded to CoreCivic’s Argument that Certain
  11                     Documents Cited Above Were Collected from ADO-Level Custodians.
  12               CoreCivic responds the foregoing arguments by contending, below, that 12 of the
  13    33 documents referenced in Plaintiffs’ argument were documents produced on December
  14    8, 2021 that were actually collected from ADO-level custodians. No weight should be
  15    afforded to this argument.
  16               After numerous extensions due to CoreCivic’s noncompliance with the Court’s
  17    discovery deadlines, the Court set a deadline of November 1, 2021 for CoreCivic to
  18    complete its ADO-level production. [ECF 231.] Consistent with this directive,
  19    CoreCivic completed document productions on August 31, 2021, September 14, 2021,
  20    September 29, 2021, and November 1, 2021, which CoreCivic specifically represented
  21    were collected “from the San Diego/Otay Mesa ADO Custodians.” [Ouellette Decl., Ex.
  22    23 (emphasis added).]
  23               The Court’s order also set a deadline of December 1, 2021 for CoreCivic to
  24

  25  The Court’s order dated August 23, 2021 [ECF 227] required CoreCivic to complete
        8

     “[p]roduction of an affidavit from a knowledgeable corporate representative regarding the
  26 sufficiency of ESI from ADO-level custodians at facilities housing 25,000+ detainees
  27 during the relevant time period.” The Declaration of Jason Ellis referenced herein was
     produced in response to the Court’s order, although CoreCivic did not file such
  28 declaration with the Court. Mr. Ellis’ declaration is attached to Mr. Ouellette’s
     declaration for the Court’s reference.

                                                     -9-          Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   complete its non-ADO-level production. [ECF 231.] CoreCivic failed to comply with
    2   the Court’s order and failed to produce its non-ADO-level data by December 1, 2021
    3   [Ouellette Decl. ¶ 7.] When Plaintiffs’ counsel inquired regarding the “document
    4   production yesterday [December 1, 2021], as Ordered by the Court,” CoreCivic’s counsel
    5   stated that the production would be produced in the following week. [Id.] On December
    6   8, 2021 and December 13, 2021, CoreCivic produced a total of 17,510 documents.
    7   [Ouellette Decl. ¶¶ 8-9.] Plaintiffs had good reason to believe that these documents
    8   constituted CoreCivic’s non-ADO-level production: (1) these documents were produced
    9   well after the November 1, 2021 deadline to produce ADO-level documents; (2) they
  10    were produced following an inquiry from Plaintiffs’ counsel regarding the non-ADO-
  11    level document production due on December 1, 2021; and (3) unlike the prior
  12    productions, CoreCivic did not describe the productions as being from “ADO
  13    Custodians,” instead only stating this time that “a new production volume” was uploaded.
  14    [Ouellette Decl.¶ 31, Ex. 23.]
  15               Indeed, the first time Plaintiffs’ counsel were informed that the December 8, 2021
  16    production contained documents collected from ADO-level custodians was when
  17    CoreCivic’s counsel circulated its portion of the joint report on 4:21 p.m. on February
  18    16, 2021—the deadline for filing this joint report. CoreCivic should not be allowed to
  19    benefit from its blatant disregard of the Court’s discovery orders and lack of transparency
  20    in its document productions. Further, even if the Court were to accept CoreCivic’s
  21    argument that 12 of the 33 documents cited herein are ADO-level documents, CoreCivic
  22    cannot meaningfully dispute that the remaining 21 representative documents contain
  23    relevant and unique information regarding the implementation of CoreCivic’s policies at
  24    issue in this action.
  25               D.    The Non-ADO-Level Data Contains Relevant Information That Should
  26                     Have Been Collected in, but Was Not Present in, the ADO-Level Data.
  27               CoreCivic should be required to abide by its previously agreed custodians for the
  28    additional reason that CoreCivic’s ADO-level production contains gaps—i.e., documents


                                                     -10-          Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   that should have been contained in the ADO-level production, but were missing and
    2   identified only in CoreCivic’s non-ADO-level production.
    3              For example, the non-ADO-level data includes an email in which CoreCivic
    4   employees discuss how a particular detainee “was not officially employed during the days
    5   she was requesting pay for” and that CoreCivic is therefore “unable to pay her since she
    6   was a volunteer worker.” [Ex. 18, CCOG00199364.] This relevant document undermines
    7   CoreCivic’s argument that it did not “employ” detainees; and further undermines
    8   CoreCivic’s argument that only those “who volunteer to participate in the VWP” received
    9   payment in exchange for labor. [ECF 118 (Opp. to Class Cert. Motion) at 3:19-4:13
  10    (emphasis in original).] This email contains Christopher LaRose, a Senior Warden (an
  11    ADO-level custodian), at all levels of the communication, yet only lower levels of this
  12    specific email chain were produced in CoreCivic’s ADO-level data—despite the fact that
  13    this document should have been contained in the ADO-level data if CoreCivic had
  14    completed its collection correctly. The full email chain is contained only in the non-ADO-
  15    level data.
  16               Although Plaintiffs have not yet reviewed every single document produced by
  17    CoreCivic due to CoreCivic’s repeated failure to comply with the Court’s production
  18    deadlines,9 Plaintiffs are already aware of other instances in which ADO-level
  19

  20
        9
  21   Despite the fact that the Court ordered CoreCivic to produce all ADO-level data by
     August 31, 2021 and all non-ADO-level data by September 30, 2021, CoreCivic took
  22 almost three extra months to complete these tasks, completing production of ADO-level

  23 data on November 1, 2021 and non-ADO-level data on December 13, 2021. CoreCivic’s
     inability to comply with Court-set deadlines necessitated Court intervention, including
  24 extensions of time and Court-ordered rolling productions.

  25 Further, even when CoreCivic provided rolling productions, its productions were so
     backloaded as to deprive Plaintiffs of the ability to review documents as they were being
  26 produced. For example, with respect to the ADO-level production, CoreCivic’s first two
  27 productions contained a paltry 736 documents, while the final two productions contained
     the remaining 19,794. Similarly, with respect to the non-ADO-level production,
  28 CoreCivic’s first production contained a paltry 660 documents, whereas its final
     production contained 16,850.

                                                    -11-         Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   communications were omitted from CoreCivic’s ADO-level production and contained
    2   only in CoreCivic’s non-ADO-level production. [See, e.g., Ex. 19, CCOG00199499
    3   (email in which Chief of Unit Management Virginia Sawyer and Warden Fred
    4   Figueroa—both ADO-level positions—discuss shortage of kitchen workers and how
    5   “Detainee’s [sic] need to be held accountable” for not working); Ex. 20, CCOG00199307
    6   (email involving Virginia Sawyer discussing work schedules for porters).]
    7              For this separate reason, Plaintiffs respectfully request that the Court order
    8   CoreCivic to produce data for all previously ordered custodians.
    9              E.    No Undue Burden Would Be Imposed By Requiring Collection of Non-
  10                     ADO-Level Custodian ESI.
  11               CoreCivic also argues below that “Plaintiffs have failed to provide any evidence or
  12    argument regarding the burden the complete production would impose on CoreCivic.”
  13    However, the purpose of this Joint Status Report is not to brief the issue of undue burden,
  14    but to “compar[e] the ADO-level ESI to the all-custodians ESI for OMDC and SDCF.”
  15    [ECF 231.] As part of this discovery dispute,10 CoreCivic admits that with use of
  16

  17 As a result of CoreCivic’s dilatory tactics, Plaintiffs have not yet reviewed every
     document contained in CoreCivic’s ADO-level and non-ADO-level productions—yet,
  18 even the review performed to date provides ample evidence of the significance of
     CoreCivic’s non-ADO-level data.
  19

  20 To the extent the Court is inclined to limit any of its previously ordered ESI custodians,
     Plaintiffs respectfully request that the Court grant the parties an additional 30 days to
  21 review produced documents, provide briefing regarding the same, and set a further
     hearing on this discovery dispute.
  22
       CoreCivic argues that this discovery dispute is relevant “solely to the federal TVPA
        10
  23 claims.” This assertion is incorrect for multiple reasons. Since one of CoreCivic’s
     California facilities—California City Correctional Facility—was not included in the
  24 productions required by the Court’s orders [ECF 225, 227, 229, 231], there remains a
     California facility (and therefore labor law claims) that would be affected by the outcome
  25 of this discovery dispute.

  26 Alternatively, to the extent CoreCivic contends that this discovery dispute relates solely
     to federal claims, CoreCivic implicitly acquiesces to the collection and production of ESI
  27 from all previously agreed custodians for California City Correctional Facility.

  28    Conversely, the fact that many of non-ADO-level documents cited herein relate to
        detainee pay issues and work hours does not render them irrelevant to the federal TVPA
        claims. The amount of time that CoreCivic required detainees to work, and whether
                                                -12-          Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   technology-assisted review, CoreCivic reviewed only a “random sample of 2,000” of the
    2   38,000 documents it produced, and reviewed only 923 documents specifically from non-
    3   ADO-level custodians. Extrapolating across all of CoreCivic’s facilities nationwide, the
    4   number of documents CoreCivic would actually have to review, utilizing technology-
    5   assisted review, would be nominal given the size and geographic scope of the class and
    6   relevant time periods for Plaintiffs’ claims.
    7              Further, while Plaintiffs are willing to meet and confer with CoreCivic regarding
    8   the use of technology-assisted review, CoreCivic failed to notify, let alone meet and
    9   confer with, Plaintiffs regarding their unilateral use of such methods until CoreCivic
  10    circulated its portion of this Joint Status Report on the filing deadline. [Ouellette Decl. ¶
  11    35.] Thus, to the extent CoreCivic argues that the non-ADO-level data does not contain
  12    sufficiently relevant documents, Plaintiffs object that they were not consulted regarding
  13    what electronic discovery protocol CoreCivic would use in connection with this
  14    discovery dispute. See Youngevity Int’l, Corp. v. Smith, No. 16-cv-00704-BTM (JLB),
  15    2019 U.S. Dist. LEXIS 60907, at *39 (S.D. Cal. Apr. 9, 2019) (“Technology-assisted
  16    review of ESI does require an ‘unprecedented degree of transparency and cooperation
  17    among counsel’ in the review and production of ESI responsive to discovery requests
  18    […] requir[ing] the producing party to provide the requesting party with full disclosure
  19    about the technology used, the process, and the methodology, including the documents
  20    used to ‘train’ the computer.”). The governing ESI protocol does not authorize or
  21    contemplate the use of technology-assisted review. [ECF 63.] Due to CoreCivic’s
  22    continued lack of transparency in the discovery process, Plaintiffs have been deprived of
  23    the ability to ensure that CoreCivic’s collection process does not systematically exclude
  24    potentially relevant ESI. CoreCivic should be denied relief from the Court’s prior
  25    discovery orders on these alternative grounds.
  26
  27 detainees were compensated for that work, bear directly on whether CoreCivic extracted
     labor from detainees by means of coercion or other unlawful means. [See, e.g., Ex. 2,
  28 CCOG00202220 (stating that detainees must work “8 hours a day to be paid”).]
     Similarly, the amount of work that detainees performed, and the amount of pay they
     received, necessarily bear on damages available under the TVPA.
                                              -13-         Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   II.        DEFENDANT’S POSITION
    2              By now, the Court is well aware of the reason CoreCivic requested that the Court
    3   narrow the list of custodians from whom ESI must be collected should this case proceed
    4   to nationwide discovery—i.e., that collection of ESI from all custodian positions would
    5   require at least five years at a cost reaching into the millions of dollars. (Dkt. 215.)
    6   Recognizing the burden full production would impose on CoreCivic, as well as Plaintiffs’
    7   concerns about evidentiary gaps, the Court crafted a procedure to test whether limiting
    8   ESI production to ADO-level positions would provide an appropriate balance between
    9   these concerns. (Dkt. 225.) Even this limited process, however, proved to be incredibly
  10    burdensome and required several extensions of the deadlines.11
  11               Plaintiffs have failed to provide any evidence or argument regarding the burden the
  12    complete production would impose on CoreCivic.12 (Id. at 11–16.) Instead, Plaintiffs’
  13

  14    11
          Plaintiffs complain that CoreCivic’s productions were “backloaded.” But that is the
        nature of the continuous active learning process used to review the voluminous
  15    documents—it starts slowly at first as the algorithm learns to recognize potentially
        relevant documents and then moves more quickly as the algorithm is refined. In any
  16    event, the original Order required CoreCivic to complete its productions by September
        30, 2021, and for the parties to file their Joint Status Report by October 31, 2021, giving
  17    Plaintiffs 30 days to complete their review and briefing. By Plaintiffs’ own admission,
        they have had two months to review ESI since CoreCivic completed its productions on
  18    December 13, 2021. The Court should deny their requests for additional time and briefing
        on these issues.
  19
        Plaintiffs further complain that CoreCivic did not meet the November 1 and December 1,
  20    2021 deadlines to complete production of ADO-level and non-ADO-level ESI and argue
        that CoreCivic should be required to provide ESI for all ADO-level and non-ADO-level
  21    ESI on a nationwide basis because of it. Collection of ESI for the ADO-level and non-
        ADO-level custodians for essentially one facility (as OMDC replaced SDCF), however,
  22    resulted in over 3.2 million documents to be reviewed. (Giardina Dec. at ¶ 26.) Even after
        de-duplicating and threading, CoreCivic still had to review over 208,000 documents. (Id.)
  23    Counsel for CoreCivic told Plaintiff’s counsel on August 12, 2021 that after application
        of search terms to the ADO-level ESI, there were 191,274 documents to be reviewed.
  24    The only way it would have been possible for CoreCivic to meet the production deadlines
        was to use TAR/continuous active learning. Nothing in the ESI Protocol required
  25    CoreCivic to get Plaintiffs’ approval to do so first, nor does it prohibit the use of
        TAR/continuous active learning. (Dkt. 63.) Plaintiffs have also cited no authority that
  26    would support their position that CoreCivic should be required to make a production that
        will take 5 years and millions of dollars to complete as a sanction for producing tens of
  27    thousands of documents a few weeks past the deadline.
        12
  28      At 8:59 a.m. MST on February 16, 2022, Plaintiffs notified CoreCivic that they
        intended to attach various documents to their portion of this joint filing that had been
        designated confidential, such that CoreCivic would need to either withdraw the
                                                 -14-          Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   position has been and is that CoreCivic should have to produce the complete set of ESI
    2   because they (Plaintiffs) requested it. But Rule 26(b)(1) requires that discovery be
    3   proportional to the needs of the case, considering (among other things) “whether the
    4   burden or expense of the proposed discovery outweighs its likely benefit.” Plaintiffs have
    5   failed to show that the time-consuming and expensive discovery they demand is likely to
    6   yield a benefit that outweighs the undisputed burden it will impose.
    7              Plaintiffs have also failed to provide the Court with a true comparison “between
    8   the two productions that would show the additional types of documents and information
    9   gathered with the different custodian lists.” (Dkt. 225 at 3.) Instead, Plaintiffs identified
  10    33 documents (out of over 38,000, or 0.09% of the total documents produced) that they
  11    believe show that non-ADO-level ESI will include relevant and responsive documents. In
  12    doing so, they misconstrue CoreCivic’s position. CoreCivic has never claimed that non-
  13    ADO-level ESI will include no relevant and responsive documents. Rather, CoreCivic
  14    has consistently maintained that it is unlikely to contain unique documents and
  15    information such that the likely benefit to be gained by requiring CoreCivic to produce
  16    ESI for all positions outweighs the burden doing so will impose.
  17               With the completion of this production, all responsive ESI hitting on any search
  18    term from any possible SDCF/OMDC Custodian has been produced. The focus of this
  19    dispute is the collection of non-ADO ESI relating solely to the federal TVPA claims, and
  20    specifically, whether CoreCivic should be required to produce non-ADO-level ESI for all
  21    facilities at issue, as opposed to just ADO-level ESI at facilities housing 25,000+
  22    detainees during the relevant time period.13 Yet, most of Plaintiff’s arguments about the
  23

  24    designation or file a Motion for Leave to File Under Seal. At 9:48 a.m., Plaintiffs sent 9
        proposed exhibits for CoreCivic’s review. At 1:14 p.m., Plaintiffs sent their portion of the
  25    Joint Status Report. CoreCivic sent its portion, including CoreCivic’s response to
        Plaintiffs’ arguments, at 5:21 p.m. MST. Plaintiffs sent extensive additions to their
  26    portion
        13
                 at 9:11 p.m. MST.
           The California City Correctional Center stopped operations on November 28, 2013.
  27    The applicable class period for the CA Labor Law Class commences on May 31, 2013
        (Dkt. 84 at 1). Given the relatively small number of ICE detainees held at California City
  28    during the six months of the relevant time period in which it housed such detainees,
        CoreCivic has proposed excluding it from the collection of ESI, focusing rather on those
        facilities with significantly more ICE detainees. To the extent that the Court determines
                                                  -15-           Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   relevance of the non-ADO ESI they highlight relate solely to individual detainee pay
    2   issues and hours of work, which are not relevant to the current dispute.
    3              Plaintiffs also misconstrue the origin of many of the documents they rely on.
    4   CoreCivic produced the bulk of the ADO-level ESI in four batches on August 31,
    5   September 14, September 29, and November 1, 2021. (Lee Dec. at ¶¶ 2–5.) On December
    6   8, 2021, CoreCivic made a fifth production of ESI consisting of both non-ADO-level ESI
    7   and some additional ADO-level ESI, despite CoreCivic’s best efforts to complete the
    8   production of ADO-level ESI by November 1, 2021. (Id. at ¶ 6.) CoreCivic then
    9   completed its production of non-ADO-level ESI on December 13, 2021. (Id. at ¶ 7.)
  10    Many of the documents Plaintiffs rely on were produced on December 8, 2021; a simple
  11    review of the metadata makes it clear that documents CCOG00199520, CCOG00199420,
  12    CCOG00199553, CCOG00199302, CCOG00199428, CCOG00199530,
  13    CCOG00199541, CCOG00200389, CCOG00199436, CCOG00199364,
  14    CCOG00199499, and CCOG00199307 were all collected from ADO-level custodians—
  15    something Plaintiffs apparently failed to do. (Id. at ¶¶ 8–15, 17–21.)
  16               Other documents Plaintiffs rely on are irrelevant to this case. The references to
  17    detainees refusing to work and/or being fired in documents CCOG00199420 and
  18    CCOG00199553 pertain to USMS detainees. (Id. at ¶¶ 10–11.) Document
  19    CCOG00211532 pertains to Eloy Detention Center, which is not at issue here. (Id. at ¶
  20    16.) Other documents, such as reports showing deposits into detainee accounts, are
  21    duplicative of structured data produced separately from ESI. (Giardina Dec. at ¶ 38(f).)
  22               Plaintiffs point out that there are only 344 exact duplicates between the two sets of
  23    ESI, but again, CoreCivic has never claimed that non-ADO-level ESI would result in the
  24    production of exact duplicates. Indeed, CoreCivic runs the collected documents through
  25    both de-duplication and threading processes that are intended to eliminate, or at least
  26    significantly reduce, true duplicates. (Giardina Dec. at ¶¶ 14–16, 22–24.) What little
  27

  28
        that non-ADO ESI is relevant for that claim, the collection period should be limited
        solely to the applicable 6-month period of the CA Labor Law Class.
                                                 -16-           Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   unique information has resulted from the non-ADO-level ESI pertains primarily to
    2   individual detainee issues, and not to system-wide policies or practices. (Id. at ¶¶ 40–41.)
    3              CoreCivic’s initial collection involved 19 ADO custodians, including individuals
    4   who had since moved into other positions and job titles, transferred to other facilities, and
    5   one individual who had recently been promoted and transferred from another facility to
    6   an ADO position at OMDC. (Id. at ¶¶ 9–11.) To the extent that an individual was
    7   promoted from a non-ADO position at a relevant facility to an ADO position, the full ESI
    8   during the relevant time period, including prior to promotion, was collected, processed,
    9   and reviewed for production. (Id. at ¶ 12.) As the court is aware, ESI must be collected
  10    individually for each custodian. (Dkt. 215-1 at ¶ 10; Giardina Dec. at ¶ 13.) The
  11    collection for these 19 ADO custodians consisted of more than 1,733,000 items, with a
  12    total file volume of 881 GB. (Id.)
  13               The ADO ESI was de-duplicated based upon email family hash-values, which
  14    resulted in a unique total collection of more than 991,000 files, with a total file volume
  15    size of 220 GB. (Id. at ¶ 14.) Application of the search terms resulted in more than
  16    191,000 documents, with a total volume size of 67 GB. (Id. at ¶ 15.) E-mail threading
  17    further reduced the volume, but still left more than 124,000 documents, with a total
  18    volume size of 52 GB. (Id. at ¶ 16.) Entire document families were promoted for review
  19    pursuant to the ESI Protocol. (Id. at ¶ 17.)
  20               Given the volume of ESI to be reviewed and the relatively short amount of time to
  21    review and produce it, a mixed Technology Assisted Review (TAR)/Managed Review
  22    process was used. (Id. at ¶ 18.) Initial batches of ESI were assigned to members of a
  23    managed review team to code for responsiveness, privilege, confidentiality, and
  24    redaction. (Id.) Quality control (QC) was done by supervisors of the managed review
  25    team, with a second-level QC review done by personnel in CoreCivic’s counsel’s office.
  26    (Id.) Based upon the reviewers’ decisions and both levels of QC review, the TAR
  27    algorithm was revised multiple times to generate the next set of batches for managed
  28    review. (Id.) This was a continuous active learning process. (Id.) Following termination


                                                     -17-         Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   of the review based upon the TAR algorithm, an elusion sample was generated, reviewed,
    2   and analyzed to validate the decision to terminate the managed review. (Id.)
    3              The individuals involved in review and QC were instructed to take a very liberal
    4   approach to identifying and coding documents as being responsive for production. (Id. at
    5   ¶ 19.) Ultimately, 11,668 documents from the ADO custodians were determined to be
    6   non-privileged and responsive. (Id. at ¶ 20.) An additional 9,674 non-responsive, non-
    7   privileged family-member documents were also produced pursuant to the ESI Protocol,
    8   for a total production volume of 21,342 ADO documents. (Id.)
    9              In the meantime, collection and processing for the non-ADO custodians began. (Id.
  10    at ¶ 21.) The non-ADO ESI was de-duplicated, both against itself and against the final
  11    threaded collection of ADO ESI, based upon email family hash-values, which resulted a
  12    unique total collection of more than 634,000 files, with a total file volume size of 198
  13    GB. (Id. at ¶ 22.) Application of the search terms resulted in more than 115,184
  14    documents, with a total volume size of 48 GB. (Id. at ¶ 23.) E-mail threading further
  15    reduced the volume, but still left more than 82,128 documents, with a total volume size of
  16    37. (Id. at ¶ 24.) The review of the non-ADO ESI proceeded using the same Continuous
  17    Active Learning, TAR/managed-review process as the ADO ESI. (Id. at ¶ 25.)
  18    Ultimately, 9,330 documents among this non-ADO set were determined to be non-
  19    privileged and responsive. (Id. at ¶ 26.) An additional 7,368 non-privileged, non-
  20    responsive family member documents were also produced pursuant to the ESI Protocol,
  21    for a total production volume of 16,698 non-ADO documents. (Id.)
  22               The following table summarizes and compares the number of SDCF/OMDC ADO
  23    and non-ADO documents at each step of the process:
  24                                                        ADO                Non-ADO
                   Files Collected                        1,733,634            1,539,520
  25               Files after De-Duplication              991,410              634,146
  26               Files after Search Terms                191,274              115,184
                   Files after Threading                   125,953              82,128
  27               Responsive Files                        11,668                9,330
  28               Files Produced                          21,342               16,698
                   Non-Responsive Family Members Produced   9,674                7,368
                                                     -18-          Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   (Id. at ¶ 27.)
    2              In order to compare the two productions, CoreCivic directed its ESI vendor to
    3   prepare approximately 10% of the produced ESI which was actually coded as responsive
    4   either by a managed review team member or the TAR algorithm for review by CoreCivic.
    5   (Id. at ¶ 28.) Further, CoreCivic directed that the vendor ensure that files from ADO and
    6   non-ADO custodians be included in the sample. (Id.) CoreCivic intentionally sought to
    7   exclude the 17,042 documents which were non-responsive (and may not even have
    8   contained any search terms, but were produced solely in accordance with the ESI
    9   Protocol) to increase the reliability of its conclusions. (Id.)
  10               CoreCivic reviewed a random sample of 2,000 documents. (Id. at ¶ 29.) The
  11    sample was nearly evenly divided among both categories of custodians, including 1,077
  12    files from the ADO custodians, and 923 from the non-ADO custodians. (Id. at ¶¶ 30–31.)
  13               To evaluate the files, CoreCivic developed a three-tier rating system. (Id. at ¶ 32.)
  14    “Relevant” documents address core issues pertaining to the claims or defenses in this
  15    matter, such as policies and practices at the facility relating to the Voluntary Work
  16    Program, aggregate monthly expenses relating to the Voluntary Work Program, ICE
  17    oversight of the Voluntary Work Program, etc. (Id.) “Tangentially Relevant” documents
  18    arguably have some connection, albeit tenuous, to the core claims and defenses in the
  19    litigation. (Id.) “Not Relevant” documents do not have any relationship to the issues in
  20    this litigation. (Id.)
  21               As with the original coding, CoreCivic evaluated each document based solely upon
  22    the four corners of the document and relevant metadata. (Id. at ¶ 33.) Documents were
  23    not relevant simply because they contained an attachment that may be relevant. (Id.)
  24    Rather, non-email files (PDF, MS Excel, MS Word) were included in the sample and
  25    evaluated independently. (Id.) “Not Relevant” was used sparingly for those documents
  26    which exclusively involved a non-ICE-detainee population; related to policies and
  27    practices at other facilities (including documents sent to custodians who had been
  28    employed at those other facilities); likely were coded responsive in error and not


                                                      -19-           Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   identified during the QC process; or were identified as privileged. (Id. at ¶ 34.) A total of
    2   180 “Not Relevant” documents were identified among the sample set, with 109 among
    3   the ADO custodians and 70 among the non-ADO custodians. (Id.) This was expected to
    4   be the case, since opportunities for advancement to ADO level normally require transfer
    5   to a new facility location, whereas non-ADO staff are more likely to seek promotion at
    6   their current facility, rather than relocate. (Id.; see also Ellis Dec. at ¶¶ 8–19.)
    7              During the sample review, CoreCivic identified 375 documents as “Relevant.” (Id.
    8   at ¶ 35.) Of those “Relevant” documents, 292 (77.85%) were collected from ADO
    9   custodians. (Id.) Of all of the non-ADO custodians included in the sample, only the
  10    business manager had more than 15% of his documents identified as “Relevant,”
  11    including monthly reports, ICE invoices, and incentives provided to participants in the
  12    Voluntary Work Program. (Id.) Most non-ADO custodians, including individuals who
  13    served as Quality Assurance Manager, Grievance Officer, Disciplinary Hearing Officer,
  14    and some Unit Managers, had less than 10% of documents identified as “Relevant.” (Id.)
  15               The fact that the processing and review was conducted for ADO custodians first,
  16    followed by the non-ADO custodians, inflated the number of “Relevant” documents
  17    among the non-ADO custodians and limited the effectiveness of email threading to
  18    control data storage and review costs. (Id. at ¶ 36.) Generally, email threading strives to
  19    exclude earlier communications in an email exchange to keep the complete thread. (Id.)
  20    Threading, however, looks only at exact duplicates of earlier parts of the final exchange.
  21    (Id.) Thus, if one response in the exchange included a new or different attachment, it
  22    would be produced as a separate exchange, even though much of the exchange is
  23    duplicative. (Id.) This problem is compounded by the separate productions of ESI from
  24    ADO and non-ADO custodians. (Id.) For example, if an exchange started out among unit
  25    staff, but was later forwarded to an ADO custodian, both the original exchange among
  26    unit staff and the forwarded exchange that included the ADO custodian were likely coded
  27    responsive and produced, as the exchange involving the ADO custodian would have been
  28    produced first, with the original exchange produced again later because it was not an


                                                    -20-           Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   exact duplicate of the exchange that was produced with the ADO custodian’s ESI and
    2   therefore was not filtered out during de-duplication and threading. (Id.) This situation
    3   accounts for many of the “Relevant” documents among the Unit Managers CoreCivic
    4   identified during the sample review. (Id.)
    5              Among the “Relevant” documents identified from the Unit Managers, CoreCivic
    6   found draft Unit Plans relating to the operation of each unit at the facility. (Id. at ¶ 37.)
    7   Unit Plans are usually prepared annually, and typically: identify the designated
    8   population of a housing area; identify available VWP assignments from the Facility’s 18-
    9   100BB Housing Plan Guidelines and 18-100CC Work/Program Plan Guidelines; detail
  10    expected practices and procedures relating to operations in each housing unit; and
  11    identify specific unit personnel. (Id.) These plans are not simply prepared by Unit
  12    Managers, but require approval of the Chief of Unit Management and the Warden (or
  13    Warden’s designee), and duplicate copies were also identified among the ADO
  14    custodians’ ESI. (Id.) Further, final approved versions of these are usually maintained at
  15    each facility, and should be more readily obtained as hardcopy documents or loose ESI
  16    directly from the facilities. (Id.)
  17               More than 70% of the files CoreCivic reviewed in the sample were identified as
  18    “Tangentially Relevant.” (Id. at ¶ 38.) Of those, 676 files were located among the ADO
  19    custodians, and 770 were identified among the non-ADO custodians. (Id.) To
  20    differentiate these, CoreCivic placed them in the following subcategories:
  21               a.    Facility Policies – Copies of the final versions of these policies were
  22                     previously obtained from the facility and produced prior to the collection of
  23                     ESI. The copies in the sample are duplicates of documents more easily and
  24                     already obtained by other means, or drafts which were never approved for
  25                     implementation (55 documents – 37 ADO and 18 non-ADO);
  26               b.    Facility Handbooks – Copies of the final versions of these documents were
  27                     obtained from the facility and produced prior to the collection of ESI. The
  28                     copies in the ESI sample are duplicates of documents more easily and


                                                      -21-          Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1                   already obtained by other means, or drafts which were never issued to the
    2                   detainee population (19 documents – 2 ADO and 17 non-ADO);
    3              c.   Detainee Job Descriptions, Checklists, and Specifications – Copies of most
    4                   of these were previously obtained directly from the facility and produced
    5                   prior to the collection of ESI. (62 documents – 16 ADO and 46 non-ADO);
    6              d.   Facility or Unit Clocks – Copies of these documents (which set the operating
    7                   schedule of the facility or a certain housing unit) were obtained from the
    8                   facility and produced prior to the collection of ESI, and most of these are
    9                   duplicates of documents more easily obtained by other means (26 documents
  10                    – 20 ADO and 6 non-ADO);
  11               e.   Town Hall Meeting Minutes – These documents usually include simple
  12                    reminders to detainees of the option to participate in the VWP during a
  13                    meeting, the importance of sanitation and hygiene, and other reminders
  14                    relating to facility operations and procedures. (94 documents – 28 ADO and
  15                    66 non-ADO);
  16               f.   Rosters of VWP Participants (including scheduled individual days off) – The
  17                    information regarding the identity of VWP participants is duplicative of the
  18                    detainee pay records which were previously obtained and produced as
  19                    structured data identifying each trust account transaction for each detainee
  20                    who participated in the VWP. Further, as opposed to the structured data
  21                    previously produced, which covered the entire time period at issue, these are
  22                    “static” documents, reflecting at best a snapshot of the roster as it appeared
  23                    on just a single day. (64 documents – 29 ADO and 35 non-ADO);
  24               g.   Documents mentioning Detainee Work Stoppages and potentially related
  25                    discipline (5 documents – 5 ADO and zero non-ADO);
  26               h.   Individual Detainee VWP requests for assignment, schedule changes,
  27                    performance, payment questions (166 documents – 27 ADO and 139 non-
  28                    ADO);


                                                     -22-          Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1              i.    Documentation relating to medical clearances for individual detainees prior
    2                    to being placed in certain VWP positions, as well as correspondence relating
    3                    to removal or suspension of certain detainees due to individual medical
    4                    concerns (443 documents – 211 ADO and 232 non-ADO);
    5              j.    General ICE oversight of facility operations (unrelated to VWP) (251
    6                    documents – 225 ADO and 26 non-ADO);
    7              k.    Plan of Action Lists and reports relating to ICE and audit deficiencies (15 –
    8                    15 ADO and zero non-ADO);
    9              l.    General reminders and reports relating to overall facility state of sanitation
  10                     (177 documents – 24 ADO and 154 non-ADO);
  11               m.    Individual Detainee Discipline, unrelated to cleaning or VWP participation
  12                     (19 documents – 9 ADO, 10 non-ADO); and
  13               n.    Duplicative content, usually different non-substantive branches of a
  14                     Relevant email which appeared in close proximity in the sample (31
  15                     documents – 24 ADO and 8 non-ADO).
  16    (Id. at ¶ 38.) In addition, there were 45 documents (30 ADO and 15 non-ADO) which
  17    were “Tangentially Relevant” but not included in the categories above. (Id. at ¶ 39.)
  18    These included documents relating to news articles, security and supervision of the
  19    facility kitchen, blank audit tools, and occasionally daily shift “pass-on” emails from Unit
  20    Management team members regarding the operation and observation of a particular
  21    housing unit for the member working the next shift. (Id.)
  22               Review of 2,000 responsive emails and attachments did not disclose a substantial
  23    difference between the emails collected, with the sole exception of emails relating to
  24    individual daily performance in the VWP, individual detainee requests for VWP
  25    assignments, and individual detainee requests relating to payment records. (Id. at ¶ 40.)
  26    While there was considerably more correspondence among non-ADO personnel
  27    regarding individual detainee questions, requests for VWP positions, decisions to quit
  28    VWP participation, inquiries regarding status of individual payment of VWP allowances


                                                      -23-           Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1   for certain days, requests to be reinstated to the VWP, and the performance of detainees
    2   in the VWP, the general substance and nature of those individual detainee
    3   communications did not materially differ from those which were escalated to the ADO
    4   level and appeared among the ADO ESI in the sample. (Id.) The purpose of ESI
    5   discovery is to identify specific facility practices and procedures relating to cleaning done
    6   by detainees beyond their personal living spaces, but during CoreCivic’s review of the
    7   923 non-ADO documents in the sample, it did not identify any relevant substantive
    8   emails or attachments with content which either was not duplicative of ESI from an ADO
    9   custodian or which could more quickly and readily be obtained from the facility or
  10    extracted from available structured data on a facility-wide basis. (Id. at ¶ 41.) The Court
  11    should limit ESI to ADO-level custodians. If it does not, CoreCivic estimates the
  12    complete production will take at least five years and will cost millions of dollars—
  13    burdens that Plaintiffs have not shown are outweighed by any benefit that might result.
  14    (Dkt. 215.)
  15
        DATED: February 16, 2022                 FOLEY & LARDNER LLP
  16                                             Eileen R. Ridley
  17                                             Geoffrey Raux
                                                 Alan R. Ouellette
  18

  19

  20                                             /s/ Eileen R. Ridley
                                                 Eileen R. Ridley
  21                                             Attorneys for Plaintiffs SYLVESTER OWINO,
                                                 JONATHAN GOMEZ, and the Proposed
  22
                                                 Class(es)
  23

  24                                             LAW OFFICE OF ROBERT L. TEEL
                                                 Robert L. Teel
  25                                              lawoffice@rlteel.com
  26                                             1425 Broadway, Mail Code: 20-6690
                                                 Seattle, Washington 98122
  27                                             Telephone: (866) 833-5529
                                                 Facsimile: (855) 609-6911
  28
                                                 Attorneys for Plaintiffs SYLVESTER OWINO,
                                                  -24-           Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1              JONATHAN GOMEZ, and the Proposed
                   Class(es)
    2

    3              STRUCK LOVE BOJANOWSKI &
                   ACEDO, PLC
    4

    5              /s/ Jacob B. Lee
                   Daniel P. Struck
    6
                   dstruck@strucklove.com
    7              Rachel Love
                   rlove@strucklove.com
    8              Nicholas D. Acedo
                   nacedo@strucklove.com
    9              Ashlee B. Hesman
  10               ahesman@strucklove.com
                   Jacob B. Lee
  11               jlee@strucklove.com
  12               Ethan H. Nelson
                   LAW OFFICE OF ETHAN H. NELSON
  13
                   ethannelsonesq@gmail.com
  14
                   Attorneys for Defendant/Counter-Claimant
  15               CoreCivic, Inc.
  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26
  27

  28


                   -25-         Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
    1                                   CERTIFICATE OF SERVICE
    2              The undersigned hereby certifies that a true and correct copy of the above and
    3   foregoing document has been served on February 16, 2022, to all counsel of record who
    4   are deemed to have consented to electronic service via the Court’s CM/ECF system per
    5   Civil Local Rule 5.4.
    6
                                                    /s/ Eileen R. Ridley
    7
                                                    Eileen R. Ridley
    8

    9
  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26
  27

  28


                                                     -26-          Case No. 17-CV-01112-JLS-NLS
4857-6833-4094.4
